956 F.2d 1162
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.John H. GANGE, Jr., Petitioner-Appellant,v.John P. GALLEY;  Attorney General of the State of Maryland,Respondents-Appellees.
    No. 91-7182.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 8, 1992.Decided March 5, 1992.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.   William M. Nickerson, District Judge.  (CA-88-1962-WN)
      John H. Gange, appellant pro se.
      John Joseph Curran, Jr., Attorney General, Cathleen C. Brockmeyer, Assistant Attorney General, Baltimore, Md., for appellees.
      D.Md.
      AFFIRMED.
      Before PHILLIPS and SPROUSE, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      OPINION
      PER CURIAM:
    
    
      1
      John H. Gange, Jr. appeals from the district court's order refusing habeas corpus relief pursuant to 28 U.S.C. § 2254 (1988).   Our review of the record and the district court's opinion accepting the recommendation of the magistrate judge discloses that this appeal is without merit.   Accordingly, we affirm on the reasoning of the district court.   Gange v. Galley, No. CA-88-1962-WN (D.Md. Mar. 11, 1991).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    